            Case 2:20-cv-00966-NR Document 154 Filed 07/22/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                             )   Civil Action
PRESIDENT, INC.; et al.,                        )
                                                )
                Plaintiffs,                     )
                                                )   No.: 2-20-cv-966-NR
       v.                                       )
                                                )
KATHY BOOCKVAR; et al.,                         )
                                                )
                Defendants.                     )   Judge J. Nicholas Ranjan

                              NOTICE OF ENTRY OF APPEARANCE

       Kindly enter the appearance of Gregory D. Sobol, Esquire, Jefferson County Solicitor, as

counsel for Defendant, Jefferson County Board of Elections, in the above-captioned action.

                                               Respectfully submitted,

                                               COUNTY OF JEFFERSON


Date: July 22, 2020                            /s/ Gregory D. Sobol
                                               Gregory D. Sobol, Esquire
                                               PA I.D. No. 321189
                                               gds@zwick-law.com
                                               Zwick & Zwick LLP
                                               171 Beaver Drive
                                               P.O. Box 1127
                                               DuBois, PA 15801
                                               Telephone: (814) 371-6400
                                               Fax: (814) 503-8453
         Case 2:20-cv-00966-NR Document 154 Filed 07/22/20 Page 2 of 2




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Notice of

Entry of Appearance was filed electronically and served via the Court’s CM/ECF system,

pursuant to the Federal Rules of Civil Procedure.




Date: July 22, 2020                                 /s/ Gregory D. Sobol
